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  June 13, 2022

  The Honorable Norman K. Moon                                                       VIA CM/ECF
  U.S. District Court Judge
  Western District of Virginia
  1101 Court Street, Suite A66
  Lynchburg, VA 24504

  Re:       FreightCar America, Inc. v. Davis-Frost, Inc. / Court Case No. 6:21-cv-00027-NKM

  Dear Judge Moon:

         Pursuant to the Court’s Pretrial Scheduling Order, Davis-Frost, Inc. (Davis-Frost),
  the moving party, hereby notifies the Court that its Motion for Summary Judgment
  (“Motion”) is ripe for decision. Davis-Frost’s Motion for Summary Judgment has been
  fully briefed by both parties. Neither FreightCar America, Inc. nor Davis-Frost have
  requested oral argument on the pending Motion. Therefore, Davis-Frost respectfully
  submits that the Motion is appropriate for decision without oral argument.

        The parties will be participating in mediation with a retired judge on June 17, 2022.
  The parties will promptly notify the Court if they settle this matter.

  Sincerely,



  Charles K. Maier




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